          Case 20-33948 Document 1072 Filed in TXSB on 03/19/21 Page 1 of 14




                                 UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

In re:                                                       §         Chapter 11
                                                             §
FIELDWOOD ENERGY, LLC, et al.,1                              §         Case No. 20-33948 (MI)
                                                             §
                                                             §         (Jointly Administered)
           Debtors.                                          §

                 XTO OFFSHORE, INC., HHE ENERGY COMPANY, AND XH LLC’S
                 WITNESS AND EXHIBIT LIST FOR HEARINGS SCHEDULED FOR
                              MARCH 24, 2021 AT 1:30 P.M.


 Bankruptcy Case No. 20-33948                                 DEBTOR: FIELDWOOD ENERGY, LLC
                                                              AND ITS AFFILIATED DEBTORS
 Witness(es):

                                                              Judge: Honorable Marvin Isgur
         1. Any witness called or designated by
            any other party.
         2. Any witness necessary to rebut the
            evidence or testimony or any witness
            offered or designated by any other
            party.
                                                              Hearing Date: March 24, 2021
                                                              Hearing Time: 1:30 P.M.
                                                              Location: Courtroom 400, 4th Fl.
                                                                        515 Rusk Ave.
                                                                        Houston, TX 77002
                                                              Party’s Name: XTO Offshore, Inc., HHE
                                                              Energy Company, and XH LLC
                                                              Attorney’s Name: J. Robert Forshey
                                                              Attorney’s Phone: (817-821-9170)
                                                              Nature of Proceeding:
                                                              Disclosure Statement Hearing (Dkt. No. 723)




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification

number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD Offshore
LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107); Bandon Oil and
Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston Bay Pipeline
LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000 W. Sam
Houston Parkway S., Suite 1200, Houston, TX 77042.




Witness and Exhibit List                                                                                        Page 1
     Case 20-33948 Document 1072 Filed in TXSB on 03/19/21 Page 2 of 14



                                          EXHIBITS

 Movants            Description             Offered   Objection   Admitted/   Disposition
  Ex. #                                                             Not
                                                                  Admitted
    1.     Amended Joint Chapter 11
           Plan of Fieldwood Energy LLC
           and Its Affiliated Debtors
           [Docket No. 1020]
    2.     Disclosure Statement for
           Amended Joint Chapter 11
           Plan of Fieldwood Energy LLC
           and Its Affiliated Debtors
           [Docket No. 1022]
    3.     Chevron U.S.A. Inc. and
           Noble Energy, Inc.’s Objection
           to the Debtors’ Motion for
           Entry of an Order Approving
           (I) the Adequacy of the
           Disclosure Statement, (II)
           Proposed Voting and
           Tabulation Procedures, (III)
           Procedures for Executory
           Contract Assumption and
           Assignment, and (IV)
           Procedures for Assignment
           and Transfer of Property of
           the Estate (the “Chevron
           Objection”) [Docket No. 880]
    4.     Marathon Oil Company’s
           Objection to Debtors’
           Disclosure Statement,
           Procedures for Assumption of
           Executory Contracts and
           Transfer of Property of the
           Estate (the “Marathon
           Objection”) [Docket No. 924]
    5.     Objection of ENI US
           Operating Co. Inc. and ENI
           Petroleum US LLC to
           Approval of Debtors’
           Disclosure Statement for
           Debtors’ Joint Chapter 11
           Plan of Reorganization (the
           “ENI Objection”) [Docket No.
           937]




Witness and Exhibit List                                                           Page 2
     Case 20-33948 Document 1072 Filed in TXSB on 03/19/21 Page 3 of 14




 Movants            Description              Offered   Objection   Admitted/   Disposition
  Ex. #                                                              Not
                                                                   Admitted
    6.     Freeport-McMoran Oil & Gas
           LLC and McMoran Oil & Gas
           LLC’s Objection to Disclosure
           Statement for Joint Chapter
           11 Plan of Fieldwood Energy
           LLC and its Affiliated Debtors
           (the “McMoran Objection”)
           [Docket No. 978]
    7.     Objection of JX Nippon Oil
           Exploration (U.S.A.) Limited to
           Disclosure Statement for Joint
           Chapter 11 Plan of Fieldwood
           Energy LLC and its Affiliated
           Debtors and Joinder in the
           Objection of XTO Offshore,
           Inc., HHC Energy Company,
           and XH LLC, of Chevron
           U.S.A., Inc. and Noble
           Energy, Inc., and of Lexon
           Insurance Company,
           Ironshore Indemnity Inc., and
           Ironshore Specialty Insurance
           Company (the “JX Nippon
           Objection”) [Docket No. 983]
    8.     Objection by Samson Contour
           Energy E&P , LLC to the
           Adequacy of the Disclosure
           Statement for Joint Chapter
           11 Plan of Reorganization of
           Fieldwood Energy LLC and its
           Affiliated Debtors (the
           “Samson Objection”) [Docket
           No. 990]

    9.     W&T Offshore, Inc. and W&T
           Energy VI, LLC’s Objection to
           Disclosure Statement for Joint
           Chapter 11 Plan of Fieldwood
           Energy LLC and its Affiliated
           Debtors (the “W&T Objection”)
           [Docket No. 1034]




Witness and Exhibit List                                                            Page 3
     Case 20-33948 Document 1072 Filed in TXSB on 03/19/21 Page 4 of 14




 Movants            Description              Offered   Objection   Admitted/   Disposition
  Ex. #                                                              Not
                                                                   Admitted
    10.    Objection and Joinder of Shell
           Offshore, Inc. to the (A)
           Objection of Chevron U.S.A.
           Inc. and Noble Energy, Inc.,
           (B) Objection of XTO
           Offshore, Inc., HHE Energy
           Company, and XH LLC, (C)
           Objection of Marathon Oil
           Company, and (D) Objection
           of Eni US Operating Co. Inc.
           and Eni Petroleum US LLC,
           and (E) Objection of Sea
           Robin Pipeline Company,
           LLC, West Cameron
           Dehydration Company, LLC,
           Florida Gas Transmission,
           LLC, Stingray Pipeline
           Company, LLC, Trunkline Gas
           Company, LLC, and Trunkline
           Field Services, LLC
           (Collectively, “Energy
           Transfer”), and (F) Objection
           of Freeport-McMoran Oil &
           Gas LLC and McMoran Oil &
           Gas, LLC to the Disclosure
           Statement for the Joint
           Chapter 11 Plan of Fieldwood
           Energy, LLC and Its Affiliated
           Debtors (the “Shell Objection”)
           [Docket No. 1056]
    11.    BP Exploration & Production
           Inc.’s Objection, and Joinder
           to Objections, to Debtors’
           Motion for Entry of an Order
           Approving (I) the Adequacy of
           the Disclosure Statement, (II)
           Proposed Voting and
           Tabulation Procedures, (III)
           Procedures for Executory
           Contract Assumption and
           Assignment, (IV) Procedures
           for Assignment and Transfer
           of Property of the Estate (the
           “BP Objection”) [Docket No.
           1064]




Witness and Exhibit List                                                            Page 4
     Case 20-33948 Document 1072 Filed in TXSB on 03/19/21 Page 5 of 14




 Movants            Description            Offered   Objection   Admitted/   Disposition
  Ex. #                                                            Not
                                                                 Admitted
    12.    Joinder of Enven Energy
           Ventures, LLC to the (A)
           Objection of Chevron U.S.A.
           Inc. and Noble Energy, Inc.,
           (B) Objection of XTO
           Offshore, Inc., HHE Energy
           Company, and XH LLC, (C)
           Objection of Marathon Oil
           Company, and (D) Objection
           of Eni US Operating Co. Inc.
           and Eni Petroleum US LLC to
           the Disclosure Statement for
           the Joint Chapter 11 Plan of
           Fieldwood Energy, LLC and
           Its Affiliated Debtors (the
           “Enven Joinder”) [Docket No.
           955]
    13.    ConocoPhillips Company, The
           Louisiana Land & Exploration
           Company, and Burlington
           Resources Offshore’s Joinder
           in the Disclosure Statement
           Objection of Freeport-
           McMoran Oil & Gas LLC and
           McMoran Oil & Gas LLC (the
           “ConocoPhillips Joinder”)
           [Docket No. 979]
    14.    Merit Energy Company, LLC’s
           Joinder in the Disclosure
           Statement Objection of
           Freeport-McMoran Oil & Gas
           LLC and McMoran Oil & Gas
           LLC (the “Merit Energy
           Joinder”) [Docket No. 980]
    15.    Hunt Oil Company, Chieftan
           International (U.S.) LLC, and
           Hunt Chieftan Development,
           L.P.’s Joinder to the (A)
           Objection of Chevron U.S.A.
           Inc. and Noble Energy, Inc.,
           (B) Objection of XTO
           Offshore, Inc., HHE Energy
           Company, and XH LLC, (C)
           Objection of Marathon Oil
           Company, and (D) Objection
           of Eni US Operating Co. Inc.


Witness and Exhibit List                                                          Page 5
     Case 20-33948 Document 1072 Filed in TXSB on 03/19/21 Page 6 of 14




 Movants            Description             Offered   Objection   Admitted/   Disposition
  Ex. #                                                             Not
                                                                  Admitted
           and Eni Petroleum US LLC to
           the Disclosure Statement for
           the Joint Chapter 11 Plan of
           Fieldwood Energy, LLC and
           Its Affiliated Debtors (the
           “Hunt Joinder”) [Docket No.
           981]
    16.    [Joinder of LLOG Exploration
           Offshore, LLC and LLOG
           Energy, LLC to the (A)
           Objection of Chevron U.S.A.
           Inc. and Noble Energy, Inc.,
           (B) Objection of XTO
           Offshore, Inc., HHE Energy
           Company, and XH LLC, (C)
           Objection of Marathon Oil
           Company, and (D) Objection
           of Eni US Operating Co. Inc.
           and Eni Petroleum US LLC to
           the Disclosure Statement for
           the Joint Chapter 11 Plan of
           Fieldwood Energy, LLC and
           Its Affiliated Debtors (the
           “LLOG Exploration Joinder”)
           [Docket No. 992]
    17.    Joinder in Objections to the
           Disclosure Statement for the
           Joint Chapter 11 Plan of
           Fieldwood Energy, LLC and
           its Affiliated Debtors (the
           “Hess Joinder”) [Docket No.
           993]
    18.    Joinder to Objections, and
           Objections, by Helis Oil & Gas
           Company, LLC to the
           Adequacy of the Disclosure
           Statement for Joint Chapter
           11 Plan of Reorganization of
           Fieldwood Energy, LLC and
           Its Affiliated Debtors (the
           “Helis Joinder”) [Docket No.
           1007]
    19.    Joinder of CNOOC Petroleum
           Offshore U.S.A., Inc. to
           Objections to the Disclosure
           Statement for the Joint


Witness and Exhibit List                                                           Page 6
     Case 20-33948 Document 1072 Filed in TXSB on 03/19/21 Page 7 of 14




 Movants            Description               Offered   Objection   Admitted/   Disposition
  Ex. #                                                               Not
                                                                    Admitted
           Chapter 11 Plan of Fieldwood
           Energy, LLC and its Affiliated
           Debtors (the “CNOOC
           Joinder”) [Docket No. 1060]
    20.    Objection by Lexon Insurance
           Company, Ironshore
           Indemnity Inc., and Ironshore
           Specialty Insurance Company
           to the Motion of Debtors for
           Entry of an Order (I)
           Approving Disclosure
           Statement and Form and
           Manner of Notice of
           Disclosure Statement Hearing;
           (II) Establishing Solicitation
           and Voting Procedures; (III)
           Scheduling Confirmation
           Hearing; (IV) Establishing
           Notice and Objection
           Procedures for Confirmation
           of the Proposed Plan; (V)
           Approving Notice and
           Objection Procedures for the
           Assumption of Executory
           Contracts and Unexpired
           Leases; (VI) Approving
           Procedures for Objections to
           the Assignment and Transfer
           of Property of the Estate; (VII)
           Approving Bid Submission
           Deadline and Procedures for
           Submission of Higher or
           Better Bids; and (VIII)
           Granting Related Relief (the
           “Lexon Objection”) [Docket
           No. 932]
    21.    Objection of Aspen American
           Insurance Company, Berkeley
           Insurance Company, Everest
           Reinsurance Company, and
           Sirius America Insurance
           Company to the Motion of
           Debtors for Entry of an Order
           (I) Approving Disclosure
           Statement and Form and
           Manner of Notice of
           Disclosure Statement Hearing;


Witness and Exhibit List                                                             Page 7
     Case 20-33948 Document 1072 Filed in TXSB on 03/19/21 Page 8 of 14




 Movants            Description               Offered   Objection   Admitted/   Disposition
  Ex. #                                                               Not
                                                                    Admitted
           (II) Establishing Solicitation
           and Voting Procedures; (III)
           Scheduling Confirmation
           Hearing; (IV) Establishing
           Notice and Objection
           Procedures for Confirmation
           of the Proposed Plan; (V)
           Approving Notice and
           Objection Procedures for the
           Assumption of Executory
           Contracts and Unexpired
           Leases; (VI) Approving
           Procedures for Objections to
           the Assignment and Transfer
           of Property of the Estate; (VII)
           Approving Bid Submission
           Deadline and Procedures for
           Submission of Higher or
           Better Bids; and (VIII)
           Granting Related Relief (the
           “Aspen Objection”) [Docket
           No. 996]
    22.    Objection of Zurich American
           Insurance Company to
           Disclosure Statement for Joint
           Chapter 11 Plan of Fieldwood
           Energy, LLC and Its Affiliated
           Debtors (the “Zurich
           Objection”) [Docket No. 1032]
    23.    U.S. Specialty Insurance
           Company’s Objection to the
           Disclosure Statement for Joint
           Chapter 11 Plan of Fieldwood
           Energy LLC and its Affiliated
           Debtors (the “U.S. Specialty
           Objection”) [Docket No. 1035]
    24.    Philadelphia Indemnity
           Insurance Company’s
           Objection to the Disclosure
           Statement for Joint Chapter
           11 Plan of Fieldwood Energy
           LLC and its Affiliated Debtors
           (the “Philadelphia Indemnity
           Objection”) [Docket No. 1036]




Witness and Exhibit List                                                             Page 8
     Case 20-33948 Document 1072 Filed in TXSB on 03/19/21 Page 9 of 14




 Movants            Description              Offered   Objection   Admitted/   Disposition
  Ex. #                                                              Not
                                                                   Admitted
    25.    Objection of the Hanover
           Insurance Company; Liberty
           Mutual Insurance Company;
           Travelers Casualty & Surety
           Company of America; and XL
           Specialty Insurance Company
           to the Disclosure Statement
           and/or Chapter 11 Plan of the
           Debtors (the “Hanover
           Objection”) [Docket No. 1040]
    26.    HHC International Insurance
           Company PLC’s Corrected
           Objection to the Disclosure
           Statement for Joint Chapter
           11 Plan of Fieldwood Energy
           LLC and its Affiliated Debtors
           (the “HHC International
           Objection”) [Docket No. 1054]
    27.    Valero Marketing and Supply
           Company’s Limited Objection
           to Disclosure Statement for
           Joint Chapter 11 Plan of
           Fieldwood Energy LLC and its
           Affiliated Debtors (the “Valero
           Objection”) [Docket No. 795]

    28.    Energy Transfer’s Objection to
           Disclosure Statement for Joint
           Chapter 11 Plan of Fieldwood
           Energy LLC and its Affiliated
           Debtors (the “Energy Transfer
           Objection”) [Docket No. 954]
    29.    RLI Insurance Company’s
           Objection to Debtors’
           Disclosure Statement and
           Proposed Voting Procedures
           (the “RLI Objection”) [Docket
           No. 1065]
    30.    Brian Cloyd’s Objection to
           Disclosure Statement for Joint
           Chapter 11 Plan of FIeldwood
           Energy LLC and its Affiliated
           Debtors (the “Cloyd
           Objection”) [Docket No. 883]




Witness and Exhibit List                                                            Page 9
     Case 20-33948 Document 1072 Filed in TXSB on 03/19/21 Page 10 of 14




 Movants             Description               Offered   Objection   Admitted/   Disposition
  Ex. #                                                                Not
                                                                     Admitted
    31.     Lewis Andrews and Patrick
            Burnett’s Objection to
            Disclosure Statement for Joint
            Chapter 11 Plan of Fieldwood
            Energy LLC and its Affiliated
            Debtors (the “Andrews and
            Burnett Objection”) [Docket
            No. 884]
    32.     Supplemental Objection of Eni
            US Operating Co. Inc. and
            ENI Petroleum US LLC to
            Approval of Debtors’
            Disclosure Statement for
            Debtors’ Joint Chapter 11
            Plan of Reorganization
            [Docket No. 1066]
    33.     Objection and Joinder of Cox
            Entities to Various Objections
            to the Disclosure Statement
            for the Joint Chapter 11 Plan
            of Fieldwood Energy, LLC and
            Its Affiliated Debtors [Docket
            No. 1067]
            Any additional objection or
            joinder filed by any other party
            Any document or pleading
            filed in the above captioned
            case.
            Any exhibit designated by any
            other party.
            Any exhibit necessary to rebut
            the evidence or testimony of
            any witness offered or
            designated by any other party.

       XTO Offshore, Inc., HHE Energy Company and XH LLC reserve any and all rights to
amend the Exhibit and Witness List, to call any witnesses designated by any other party and
use any other Exhibit designated by any other party to the hearing.




Witness and Exhibit List                                                              Page 10
     Case 20-33948 Document 1072 Filed in TXSB on 03/19/21 Page 11 of 14



DATED: March 19, 2021                 Respectfully Submitted,

                                      /s/ J. Robert Forshey
                                      J. Robert Forshey
                                      State Bar No. 07264200
                                      Suzanne K. Rosen
                                      State Bar No. 00798518
                                      Lynda L. Lankford
                                      State Bar No. 11935020
                                      FORSHEY & PROSTOK LLP
                                      777 Main St., Suite 1550
                                      Fort Worth, Texas 76102
                                      Telephone: (817) 877-8855
                                      Facsimile: (817) 877-4151
                                      bforshey@forsheyprostok.com
                                      srosen@forsheyprostok.com
                                      llankford@forsheyprostok.com

                                      ATTORNEYS FOR XTO OFFSHORE, INC., HHE
                                      ENERGY COMPANY, AND XH LLC




Witness and Exhibit List                                               Page 11
     Case 20-33948 Document 1072 Filed in TXSB on 03/19/21 Page 12 of 14



                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served upon all
parties receiving electronic notice via the Court's CM/ECF system and via email to the following
parties on March 19, 2021.

Alfredo R. Perez at alfredo.perez@weil.com
Matthew S. Barr at matt.barr@weil.com
Jessica Liou at Jessica.liou@weil.com
       Attorneys for the Debtors and Debtors in Possession

C. Robert Mace at bmace@trialattorneytx.com
C. Brannon Robertson at brannon.robertson@trialattorneytx.com
Deborah D. Williamson at dwilliamson@dykema.com
Danielle N. Rushing at drushing@dykema.com
       Attorneys for Valero Marketing and Supply Company

Edward L. Ripley at eripley@andrewsmyers.com
Lisa M. Norman at lnorman@andrewsmyers.com
Patrick A. Kelly at pkelly@andrewsmyers.com
        Attorneys for Chevron U.S.A. Inc. and Noble Energy, Inc.

Ryan E. Chapple at rchapple@cstrial.com
Randy W. Williams at 4williams@cstrial.com
Chelsea L. Schell at cschell@cstrial.com
      Attorneys for Creditors Brian Cloyd
      Attorneys for Creditors Lewis Andres and Patrick Burnett

William A. (Trey) Wood III at trey.wood@bracewell.com
Mark E. Dendinger at mark.dendinger@bracewell.com
       Attorneys for Eni US Operating Co., Inc. and Eni Petroleum US LLC

Lee E. Woodard at bkemail@harrisbeach.com
       Attorneys for Lexon Insurance Company, Ironshore Indemnity Inc. and Ironshore Specialty
       Insurance Company

Clay M. Taylor at clay.taylor@bondsellis.com
M. Jermaine Watson @ Jermaine.watson@bondsellis.com
J. Robertson Clarke at Robbie.clarke@bondsellis.com
       Attorneys for Marathon Oil Company

Omar J. Alaniz at oalaniz@reedsmith.com
      Attorneys for Hess Corporation




Witness and Exhibit List                                                               Page 12
     Case 20-33948 Document 1072 Filed in TXSB on 03/19/21 Page 13 of 14



Randall A. Rios at randy.rios@huschblackwell.com
Timothy A. Million at tim.million@huschblackwell.com
Armen Shahinian at ashahinian@csglaw.com
Scott A.Zuber at szuber@csglaw.com
Darren Grzyb at dgrzyb@csglaw.com
Jase A. Brown at jbrown@csglaw.com
       Attorneys for Aspen American Insurance Company, Berkley Insurance Company, Everest
       Reinsurance Company and Sirius America Insurance Company

John E.W. Baay II at jbaay@glllaw.com
       Attorneys for LLOG Exploration Offshore, LLC and LLOG Energy, LLC

Jan M. Hayden at jhayden@bakerdonelson.com
Lacey Rochester at lrochester@bakerdonelson.com
       Attorneys for Samson Contour Energy E & P, LLC

Leann O. Moses at moses@carverdarden.com
Lambert M. Laperouse at laperouse@glllaw.com
      Attorneys for JX Nippon Oil Exploration (USA) Limited

James R. Prince at jim.prince@bakerbotts.com
Kevin Chiu at kevin.chiu@bakeerbotts.com
David R. Eastlake at David.eastlake@bakerbotts.com
       Attorneys for Hunt Oil Company

Bradley C. Knapp at bknapp@lockelord.com
Omar F. Kuebel, III at rkuebel@lockelord.com
Philip G. Eisenberg at peisenberg@lockelord.com
Elizabeth M. Guffy at eguffy@lockelord.com
Simon R. Mayer at simon.mayer@lockelord.com
        Attorneys for Merit Energy Company, LLC
        Attorneys for ConocoPhillips Company, The Louisiana Land & Exploration Company and
        Burlington Resources Offshore
        Attorneys for Freeport-McMoran Oil & Gas LLC and McMoran Oil & Gas LLC
        Attorneys for W&T Offshore, Inc. and W&T Energy VI, LLC
        Attorneys for U.S. Specialty Insurance Co.

Stewart F. Peck at speck@lawla.com
Anup Sathy at asathy@kirkland.com
Ross M. Kwasteniet at rkwasteniet@kirkland.com
Spencer A. Winters at spencer.winters@kirkland.com
Matthew D. Cavenaugh at mcavenaugh@jw.com
Kristhy M. Peguero at kpeguero@jw.com
Geneieve Graham at ggraham@jw.com



Witness and Exhibit List                                                          Page 13
     Case 20-33948 Document 1072 Filed in TXSB on 03/19/21 Page 14 of 14



Cameron A. Secord at csecord@jw.com
     Attorneys for Atlantic Maritime Services LLC and Valaris plc

Emanuel C. Grillo at Emanuel.grillo@bakerbotts.com
Kevin Chiu at kevin.chiu@bakerbotts.com
       Attorneys for EnVen Energy Ventures, LLC

John E. Mitchell at john.mitchell@katten.com
Michaela C. Crocker at Michaela.crocker@katten.com
Yelena Archiyan at Yelena.archiyan@katten.com
       Attorneys for Energy Transfer

Shari L. Heyen at heyens@gtlaw.com
Karl D. Burrer at burrerk@gtlaw.com
David B. Kurzweil at kurzweild@gtlaw.com
        Attorneys for BP Exploration & Production Inc.

Ryan E. Manns at ryan.manns@nortonrosefulbright.com
Emma Persson at emma.persson@nortonrosefulbright.com
      Attorneys for Shell Offshore, Inc.

Michael E. Collins at mcollins@manierherod.com
Robert W. Miller at rmiller@manierherod.com
       Attorneys for Philadelphia Indemnity Insurance Co.


                                                /s/ Suzanne K. Rosen
                                                Suzanne K. Rosen




Witness and Exhibit List                                               Page 14
